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                    IN THE UNITED STATES DISTRICT COURT

                   FOR THE WESTERN DISTRICT OF WISCONSIN

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UNITED STATES OF AMERICA,

                            Plaintiff,                                ORDER

              v.                                                 07-cr-141-bbc-02

LAWRENCE L. HENRICKSON,

                            Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

       A hearing on the probation office's petition for judicial review of Lawrence L.

Henrickson's probation was held on September 15, 2009, before United States District Judge

Barbara B. Crabb. The government appeared by Assistant United States Attorney Grant C.

Johnson. Defendant was present in person and by counsel, Pablo Carranza. Also present

was Assistant Deputy Chief U.S. Probation Officer Paul J. Reed.

       From defendant's stipulations, I make the following findings of fact.




                                         FACTS

       Defendant was sentenced in the Western District of Wisconsin on April 8, 2008,

following his conviction for possession and distribution of counterfeit reserve notes. This

offense is a Class C felony. He was sentenced to 36 months' probation.

       Defendant began his term of probation on April 8, 2008. On July 11, November 21,

and November 28, 2008, and June 17 and July 20, 2009, he consumed alcohol in violation
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of Special Condition No. 4 of his probation requiring him to abstain from the use of alcohol.

       Defendant's conduct falls into the category of a Grade C violation.           Section

7B1.3(a)(2) of the advisory guidelines provides that the court may revoke probation, extend

the term of probation or modify the conditions of probation upon a finding of a Grade C

violation.




                                       CONCLUSIONS

       Defendant's violations warrant revocation.     Accordingly, the 36-month term of

probation imposed on defendant on April 8, 2008, will be revoked.

       Defendant's criminal history category is II. With a Grade C violation, defendant has

an advisory guideline term of imprisonment of 4 to10 months. The statutory maximum to

which defendant can be sentenced upon revocation is not more than 20 years, based on his

placement on probation for a Class C felony.

       After reviewing the non-binding policy statements of Chapter 7 of the Sentencing

Guidelines, I have selected a sentence below the guideline range. The intent of this sentence

is to hold defendant accountable for his violations while providing him a treatment setting

to address his addiction to alcohol.




                                          ORDER

       IT IS ORDERED that the period of supervised release imposed on defendant on

April 8, 2008, is REVOKED and defendant is committed to the custody of the Bureau of



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Prisons for a term of one day. I order that one day of credit be given for time served for

defendant's appearance today.       A 30-day term of supervised release shall follow

imprisonment and all standard and special conditions of probation previously imposed and

not otherwise satisfied shall remain in effect with the addition of Special Condition No. 7

requiring defendant to participate in inpatient substance abuse treatment for a period of 21

days, beginning on September 21, 2009, at Fahrman Center, in Eau Claire, Wisconsin.

       Defendant does not have the financial means or earning capacity to pay the cost of

his confinement at the Fahrman Center.

       Entered this 15th day of September 2009.




                                                 BY THE COURT:

                                                 /s/

                                                 ___________________________________
                                                 BARBARA B. CRABB
                                                 Chief U.S. District Judge




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